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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                     8:10CR420
       vs.                                 )
                                           )                       ORDER
EDWARD ALSTATT,                            )
                                           )
                     Defendant.            )



      This matter is before the court on defendant's MOTION TO EXTEND TIME IN WHICH TO
FILE PRETRIAL MOTIONS [19]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 30-day extension. Pretrial
Motions shall be filed by February 7, 2011.

       IT IS ORDERED:

       1.    Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL MOTIONS [19]
is granted. Pretrial motions shall be filed on or before February 7, 2011.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3.    The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between January 10, 2011 and
February 7, 2011, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 10th day of January, 2011.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
